          Case 1:20-cv-01973-SAG Document 6 Filed 09/01/20 Page 1 of 1



                   IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF MARYLAND


DEBORAH LAUFER,                      :
                                     : Case No.: 1:20-cv-1973
          Plaintiffs,                :
v.                                   :
                                     :
BRE/ESA P PORTFOLIO, LLC,            :
          Defendant.                 :
____________________________________ :
                                     :
                                     :

                          PLAINTIFF’S MOTION FOR DEFAULT

       Plaintiff, by and through undersigned counsel, hereby move for default against the

Defendant, BRE/ESA P PORTFOLIO, LLC. Defendant was served with the summons and

complaint on July 7, 2020. Defendant’s answer or responsive pleading was due September 1, 2020.

Defendant has failed to file a timely response.



DATED: September 1, 2020



                                                   Respectfully submitted,

                                                   Attorney for Plaintiff:

                                                   _/s/ Tristan W. Gillespie__

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